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                IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAI‘I

 JASON WOLFORD; ALISON                    Civil No. 1:23-cv-00265-LEK-WRP
 WOLFORD; ATOM KASPRZYCKI;
 HAWAII FIREARMS COALITION,               DEFENDANT ANNE E. LOPEZ’S
                                          MEMORANDUM IN OPPOSITION
                  Plaintiffs,             TO PLAINTIFFS’ MOTION FOR
                                          TEMPORARY RESTRAINING
                                          ORDER (ECF NO. 7);
 v.                                       DECLARATION OF NICHOLAS M.
                                          MCLEAN; DECLARATION OF
                                          SAUL CORNELL; DECLARATION
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 ANNE E. LOPEZ, in her official            OF BRENNAN RIVAS;
 capacity as the Attorney General of the   DECLARATION OF TERENCE
 State of Hawai‘i; MAUI COUNTY,            YOUNG; DECLARATION OF
                                           PATRICK MCCALL;
                    Defendants.            DECLARATION OF LAURA H.
                                           THIELEN; EXHIBITS;
                                           CERTIFICATE OF SERVICE

                                           District Judge:
                                           Hon. Leslie E. Kobayashi

                                           Magistrate Judge:
                                           Hon. Wes Reber Porter

                                           TRO Hearing:
                                           July 28, 2023 at 10:30 AM
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 I.    INTRODUCTION

       To address the dangers of firearms and gun violence, the Hawai‘i

 Legislature recently passed Act 52—a crucial public safety measure that, among

 other things, designates certain locations as sensitive places where guns may not be

 carried. Plaintiffs1 challenge four sensitive-place provisions: restrictions on

 carrying guns in (1) bars and restaurants serving alcohol, (2) public parks and

 beaches, (3) banks, and (4) parking lots adjacent to government buildings. 2

 Plaintiffs also challenge Act 52’s requirement that individuals not carry firearms

 on others’ private property without authorization—a rule that honors people’s right

 to decide for themselves whether guns may be carried on their property.

       Plaintiffs ask this Court to issue a TRO enjoining these provisions on an

 emergency basis, 3 but fail to establish their entitlement to the extraordinary relief

 they seek. Indeed, Plaintiffs cannot establish any of the preconditions for injunctive

 relief: They have no likelihood of success on the merits, will suffer no irreparable




  1
    Plaintiffs are three Maui residents and an organization, the Hawaii Firearms
 Coalition (“Plaintiffs”). See ECF No. 1 (“Complaint”) ¶¶ 1-4.
  2
    HRS § 134-A(a)(4) (bars/restaurants); HRS § 134-A(a)(9) (parks/beaches); HRS
 § 134-A(a)(12) (banks/financial institutions); HRS § 134-A(a)(1) (“parking areas”
 “adjacent” to government buildings); Declaration of Nicholas M. McLean Ex. 1
 (copy of Act 52). Except where otherwise indicated, references to “Ex.” are to the
 exhibits attached to the McLean Declaration.
  3
    This memo addresses Plaintiffs’ motion for a TRO only. The parties will further
 develop the record and brief the request for a preliminary injunction separately.

                                            1
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 harm, and the balance of the equities and public interest overwhelmingly favor

 denying their request, not granting it.

 II.   LEGAL STANDARD

       For a court to grant a TRO, “the moving party must demonstrate that he is

 likely to succeed on the merits, that he is likely to suffer irreparable harm in the

 absence of preliminary relief, that the balance of equities tips in his favor, and that

 an injunction is in the public interest.” Grandinetti v. Alexander, No. 16-cv-00480

 LEK-KSC, 2017 WL 4855390, at *1 (D. Haw. Oct. 26, 2017) (cleaned up).4 This

 “extraordinary remedy . . . may only be awarded upon a clear showing that the

 plaintiff is entitled to such relief,” and is “never awarded as of right.” Winter v.

 NRDC, Inc., 555 U.S. 7, 22, 24 (2008). And where, as here, the interim relief

 sought “is identical to the ultimate relief sought . . . courts generally disfavor the

 granting of injunctive relief.” Safari Club Int’l v. Bonta, No. 2:22-cv-01395-DAD-

 JDP, 2023 WL 184942, at *21 (E.D. Cal. Jan. 12, 2023).




  4
    “If a plaintiff can only show that there are serious questions going to the
 merits—a lesser showing than likelihood of success on the merits—then a [TRO]
 may still issue if the balance of hardships tips sharply in the plaintiff’s favor, and
 the other two Winter factors are satisfied.” Taylor-Failor v. Cnty. of Haw., 90 F.
 Supp. 3d 1095, 1099 (D. Haw. 2015) (cleaned up).

                                            2
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 III.   ARGUMENT

        A.    PLAINTIFFS’ CLAIMS ARE UNLIKELY TO SUCCEED
              1.     Hawai‘i’s sensitive-place restrictions are constitutional.
        Tested against the framework the Supreme Court has established for Second

 Amendment claims, Plaintiffs are unlikely to prevail. Under New York State Rifle

 & Pistol Ass’n v. Bruen, 142 S. Ct. 2111 (2022), a plaintiff challenging a gun

 regulation must first establish that “the Second Amendment’s plain text covers

 [his] conduct.” Id. at 2126. It is not enough for Plaintiffs to simply say they wish to

 carry firearms for self-defense, see TRO Mot. 6-7; they must meet their textual

 burden as to their specific course of conduct—here, carrying firearms into each of

 the particular types of locations they cite. See, e.g., United States v. Tallion, No.

 8:22-po-01758-AAQ, 2022 WL 17619254, at *5 (D. Md. Dec. 13, 2022) (“[T]he

 question is whether the Second Amendment includes a right to carry weapons onto

 government complexes like the NIH campus.”).5




  5
    See id. at *6 (“Bruen does not alter the conclusion that the location the
 regulation affects remains relevant to assessing whether the Second Amendment
 covers the conduct.”); United States v. Reyna, No. 3:21-cr-41 RLM-MGG, 2022
 WL 17714376, at *4 (N.D. Ind. Dec. 15, 2022) (“For Step One to have any
 meaning, the regulated conduct must be defined specifically enough that it can
 meaningfully compare to the Second Amendment’s plain text—a plain text that is
 more complex than mere possession. To do otherwise would be to compare the
 regulated conduct to the Second Amendment’s bare and oversimplified text—
 keeping and bearing arms, without the original public meaning emphasized in
 Heller and [Bruen].”).

                                            3
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       If a plaintiff meets that textual burden, the government must show that its

 regulation “is consistent with this Nation’s historical tradition of firearm

 regulation.”6 Bruen, 142 S. Ct. at 2126. This inquiry “will often involve reasoning

 by analogy”—“determining whether a historical regulation is a proper analogue for

 a distinctly modern firearm regulation” by asking “whether the two regulations are

 relevantly similar.” Id. at 2132 (cleaned up). The Supreme Court declined to

 “provide an exhaustive survey of the features that render regulations relevantly

 similar under the Second Amendment,” but stated that prior cases “point[ed]

 toward at least two metrics: how and why the regulations burden a law-abiding

 citizen’s right to armed self-defense.” Id. at 2132-33. This historical analysis is not

 a “regulatory straightjacket” and does not require “a modern-day regulation [to be]

 a dead ringer for historical precursors.” Id. at 2133. The government must “identify

 a well-established and representative historical analogue, not a historical twin.” Id.

 Bruen also establishes that “cases implicating unprecedented societal concerns . . .

 may require a more nuanced approach” to the historical inquiry. Id. at 2132.

       In conducting the historical analysis, Plaintiffs would restrict this Court to

 “the Founding, centering on 1791.” TRO Mot. 7. But Bruen explicitly left open


  6
    Where—as here—specific sensitive-place provisions are plainly supported by
 historical authorities and analogues, courts can also assume step 1 is met and reject
 the claim at step 2. Cf. United States v. Alaniz, 69 F.4th 1124, 1129 (9th Cir. 2023)
 (“assum[ing], without deciding, that step one of the Bruen test is met,” and
 “find[ing]” a law “constitutional under step two” based on “history and tradition”).

                                            4
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 whether the analysis should be focused on 1791 (when the Bill of Rights was

 adopted) or 1868 (when the Fourteenth Amendment was ratified), Bruen, 142

 S. Ct. at 2138, and numerous courts have properly held that “the more appropriate

 barometer is the public understanding of the right when the States ratified the

 Fourteenth Amendment and made the Second Amendment applicable to the

 States,” NRA v. Bondi, 61 F.4th 1317, 1323 (11th Cir. 2023).7

       Nor is 1868 a cut-off; later historical analogues can also provide guidance.

 See, e.g., Frey v. Nigrelli, No. 21-cv-05334 (NSR), 2023 WL 2473375, at *13

 (S.D.N.Y. Mar. 13, 2023) (considering “municipal gun regulations from 1750 to

 the late 19th century” and noting that Heller “indicat[ed] that post-enactment

 history that sheds light on the public understanding of a legal text is a critical tool

 of constitutional interpretation” (cleaned up)). This is especially true when

 addressing a technology (e.g., airplanes) or social phenomenon (e.g., large crowds



  7
    See Bondi, 61 F.4th at 1322 n.9 (“Many prominent judges and scholars—across
 the political spectrum—agree that, at a minimum, the Second Amendment’s scope
 as a limitation on the States depends on how the right was understood when the
 Fourteenth Amendment was ratified.” (cleaned up)); Maryland Shall Issue, Inc. v.
 Montgomery Cnty., No. TDC-21-1736, 2023 WL 4373260, at *8 (D. Md. July 6,
 2023) (“[H]istorical sources from the time period of the ratification of the
 Fourteenth Amendment are equally if not more probative of the scope of the
 Second Amendment’s right to bear arms as applied to the states by the Fourteenth
 Amendment.”). Furthermore, “Bruen considered evidence from both the founding
 era (the years around 1791) and reconstruction era (the years around 1868).”
 Goldstein v. Hochul, No. 22-cv-8300 (VSB), 2023 WL 4236164, at *11 (S.D.N.Y.
 June 28, 2023).

                                            5
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 of tourists congregating at public beaches) that did not emerge until our more

 recent history. 8

        Prior to Bruen, District of Columbia v. Heller, 554 U.S. 570 (2008),

 recognized that certain regulations—including “laws forbidding the carrying of

 firearms in sensitive places such as schools and government buildings”—were

 “presumptively lawful.” Id. at 626-27 & n.26. Bruen expanded Heller’s list of

 illustrative sensitive places to include “legislative assemblies, polling places, and

 courthouses,” stating that it was “aware of no disputes regarding the lawfulness of

 such prohibitions.” 142 S. Ct. at 2133. 9 Bruen also explained that courts may look

 to the examples identified in Heller and Bruen and “use analogies to those

 historical regulations of ‘sensitive places’ to determine that modern regulations

 prohibiting the carry of firearms in new and analogous sensitive places are

 constitutionally permissible.” Id.

        Heller and Bruen’s examples yield several principles that justify a place’s

 designation as sensitive: among these, a place may be deemed sensitive if the

 government is acting as a proprietor, or if “the people found there or the activities



  8
    Nor did Bruen “impose any specific requirement that the historical statutes
 considered must have applied to a certain number of states or a certain percentage
 of the relevant population.” Maryland, 2023 WL 4373260, at *16.
  9
    Justice Kavanaugh’s concurrence in Bruen—joined by the Chief Justice—
 further emphasized that “laws forbidding the carrying of firearms in sensitive
 places” are “presumptively lawful.” 142 S. Ct. at 2162 (cleaned up).

                                            6
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 that take place there” are particularly susceptible to the risks of gun violence.

 United States v. Class, 930 F.3d 460, 465 (D.C. Cir. 2019) (cleaned up).10

                     a.     Bars and restaurants serving alcohol

       Plaintiffs’ challenge to the restriction on carrying guns in bars and

 restaurants serving alcohol, HRS § 134-A(a)(4), cannot succeed. To start, Plaintiffs

 lack standing because they have not identified any bar or restaurant that has

 authorized (or would authorize) Plaintiffs to carry a gun into their premises. The

 fact that Plaintiffs identify certain bars and restaurants where they unilaterally wish

 to carry firearms, Complaint ¶¶ 59(h), 60(h), 61(h), is insufficient. That is because

 Plaintiffs have not shown that their alleged injuries “fairly can be traced to the

 challenged action of the defendant,” as opposed to “the independent action of some

 third party not before the court,” or that any injury caused by not being allowed to

 carry firearms on private property “is likely to be redressed by a favorable

 decision.” Simon v. E. Ky. Welfare Rts. Org., 426 U.S. 26, 38, 41-42 (1976).

       On the merits, the Legislature acted within its constitutional authority in

 designating bars and restaurants serving alcohol as sensitive locations. First,

 because Plaintiffs have not adequately established that the Second Amendment’s


  10
     Schools, for example, are sensitive because children are especially vulnerable
 to gun violence. Government buildings—including legislative assemblies, polling
 places, and courthouses—are sensitive in part because they are essential to the
 protection of other constitutional rights. See Darrell A. H. Miller, Constitutional
 Conflict and Sensitive Places, 28 Wm. & Mary Bill Rts. J. 459, 466 (2019).

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 text covers possessing firearms in bars or restaurants serving alcohol, Plaintiffs fail

 to satisfy their threshold burden. “[L]aws forbidding the carrying of firearms in

 sensitive places” are “presumptively lawful,” see Heller, 554 U.S. at 626-27 &

 n.26, such that they fall outside the scope of the Second Amendment. 11

       Second, even if Plaintiffs had satisfied their initial textual burden, the

 prohibition on carrying firearms in places that sell intoxicating liquor comports

 with a longstanding tradition of regulation. Inebriated individuals bearing firearms

 pose obvious risks to fellow patrons and staff, particularly in crowded places. See

 State v. Torres, 75 P.3d 410, 413 (N.M. App. 2003) (recognizing “obvious danger

 in the combination of firearms and liquor consumption”). To guard against these

 dangers, governments before and after the Founding recognized the commonsense

 proposition that it is wise to separate guns and alcohol. A 1746 New Jersey law

 prohibited the selling of “any strong Liquor” to members of the militia, Ex. 2, and

 a 1756 Delaware law provided that “no Captain or other Officer shall Appoint any

 place of Meeting for his Company . . . within the Distance of half a mile of any Inn


  11
    Post-Heller, courts have held that “presumptively lawful regulatory measures”
 could be upheld under the first step of the then-governing Second Amendment test,
 which asked whether the challenged law regulated conduct that fell outside the
 scope of the Second Amendment, and which Bruen endorsed as “broadly
 consistent with Heller.” 142 S. Ct. at 2127; see Bauer v. Becerra, 858 F.3d 1216,
 1221 (9th Cir. 2017); United States v. Focia, 869 F.3d 1269, 1286 (11th Cir.
 2017); NRA v. Bureau of Alcohol, Tobacco, Firearms, & Explosives, 700 F.3d 185,
 196 (5th Cir. 2012); United States v. Bena, 664 F.3d 1180, 1183 (8th Cir. 2011);
 United States v. Marzzarella, 614 F.3d 85, 91 (3d Cir. 2010).

                                            8
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 or Tavern,” Ex. 3. A Maryland law passed the same year prohibited “any Person of

 the Militia” from getting “drunk on any Muster-day,” and banned the sale of “any

 Strong Liquor at any Place of training or at any other Place within Five Miles of

 any Place of training.” Ex. 4. And a 1780 Pennsylvania law prohibited “any non-

 commissioned officer or private” from parading drunk, and provided that “[n]o

 company or battalion shall meet at a tavern on any of the days of exercise, nor shall

 march to any tavern before they are discharged.” Ex. 5.12 Other measures excluded

 “common drunkards” from the militia, 13 and regulated the interaction of firearms

 and alcohol.14 And in the nineteenth century, an 1853 New Mexico law prohibited

 people from carrying “fire arms or other deadly weapons, whether they be shown

 or concealed upon their persons” in a “Ball or Fandango, . . . or room adjoining

 said ball where Liquors are sold.” Ex. 19. An 1879 New Orleans ordinance forbade



  12
      Additionally, laws from the mid-nineteenth century prohibited “any
 intoxicating liquor” from being “kept or sold . . . on or near the ground of any . . .
 military muster.” See Ex. 6 (1852 Vt.); Ex. 7 (1853 R.I.). An 1859 Connecticut law
 prohibited the sale of liquor “within one mile of any military parade-ground,
 muster-field or encampment.” Ex. 8.
   13
      E.g., Ex. 9 (1837 Mass.); Ex. 10 (1837 Me.); Ex. 11 (1840 R.I.).
   14
      See Ex. 12 (1851 Chicago law providing that “no permit [to keep or sell
 gunpowder] shall be granted to any retailer of intoxicating liquors”); Ex. 13
 (similar 1858 Minnesota law); Ex. 14 (1867 Kansas law prohibiting firearm
 possession by intoxicated individuals); Ex. 15 (similar 1883 Missouri law); Ex. 16
 (similar 1883 Wisconsin law); Ex. 17 (1890 Oklahoma law prohibiting officers
 from carrying arms “while under the influence of intoxicating drinks”); Ex. 18
 (1878 Mississippi law forbidding sale of weapons, including firearms, to “any . . .
 person intoxicated”).

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 “any person to carry a dangerous weapon, concealed or otherwise, into any . . .

 tavern.” Ex. 20. Similarly, an 1890 Oklahoma law prohibited firearms in “any

 place where intoxicating liquors are sold.” Ex. 17. These laws demonstrate a strong

 tradition of restricting firearms in places people gather, often in close proximity,

 and consume alcohol.

                     b.    Public parks and beaches
       Plaintiffs are also unlikely to prevail on their claim that the Legislature’s

 designation of parks and beaches as sensitive locations is unconstitutional.15 There

 are three reasons why the parks and beaches provisions of Act 52 are

 constitutional: (1) the text of the Second Amendment does not cover Plaintiffs’

 proposed course of conduct; (2) the State and county have authority to regulate

 these locations as proprietors; and (3) there are ample historical analogues that

 demonstrate that these restrictions are constitutional under Bruen.

       First, for the reasons previously set forth, Plaintiffs again fail to establish

 that the specific course of conduct they wish to undertake is covered by the text of

 the Second Amendment.


  15
     Notably, restrictions on firearms in Hawaiʻi State Parks are not new. For
 decades it has been unlawful in State Parks to “use or possess . . . firearms . . . or
 other implements designed to discharge missiles,” HAR § 13-146-19(a), except for
 hunting purposes as provided by law, id. § 13-146-41. These regulations, adopted
 in 1990, have the force of law. HRS § 184-5. The fact that these restrictions have
 existed for many years further underscores that, with respect to State Parks,
 Plaintiffs’ request for emergency temporary injunctive relief should be denied.

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       Second, public parks and beaches are owned by the government and thus are

 subject to its authority to administer those locations as a proprietor.16 The

 government’s role as proprietor weighs in favor of upholding a regulation. For

 example, in Nordyke v. King, 681 F.3d 1041 (9th Cir. 2012), the en banc Ninth

 Circuit upheld a county ordinance against a Second Amendment challenge because

 (among other things) it applied “only on County property.” Id. at 1044. Nordyke

 drew on the principle—already recognized by the Supreme Court in other

 contexts—that “there is a crucial difference, with respect to constitutional analysis,

 between the government exercising the power to regulate or license, as lawmaker,

 and the government acting as proprietor, to manage its internal operation.” Id. at

 1045 (cleaned up). 17 Like the ordinance in Nordyke, Act 52’s parks and beaches

 provisions focus on government property.

       And whether assessed at step 1 (the threshold textual step) or at step 2 (the

 historical analysis), the nature of public parks and beaches clearly demonstrates


  16
     Under Hawai‘i law, all areas makai of the upper reaches of the wash of the
 waves are public land, Application of Ashford, 50 Haw. 314, 314-15, 440 P.2d 76,
 77 (1968), “held in public trust by the State,” Application of Sanborn, 57 Haw.
 585, 593-94, 562 P.2d 771, 776 (1977).
  17
     Other courts have recognized this principle in the context of Second
 Amendment challenges. See Class, 930 F.3d at 464 (“[T]he government—like
 private property owners—has the power to regulate conduct on its property.”);
 Bonidy v. U.S. Postal Serv., 790 F.3d 1121, 1126-27 (10th Cir. 2015) (“The
 government often has more flexibility to regulate when it is acting as a proprietor
 (such as when it manages a post office)[.]”), quoted with approval in Mahoney v.
 Sessions, 871 F.3d 873, 880 (9th Cir. 2017).

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 that they are sensitive locations. Children and families congregate at parks and

 beaches, 18 just as they do at schools. Indeed, many parks contain playgrounds and

 are located next to schools.19 Numerous organized activities in public parks

 involve children, including the Summer Fun program in Honolulu and the PALS

 program on Maui.20 Parks and beaches often host crowded gatherings, like

 concerts, fairs, competitions, and cultural exhibitions, and they are places where

 important expressive activities occur. 21

       Hawai‘i’s beaches provide for a range of cultural opportunities (including

 religious activities and traditional practices) and represent “a focal point of modern

 lifestyle as well as cultural tradition.”22 Moreover, in the decades since the



  18
     See https://www.mauicounty.gov/119/Parks-Recreation;
 https://www.mauicounty.gov/DocumentCenter/View/139258/ABOUT-PALS-for-
 Parents.
  19
     Thielen Decl. ¶ 6; McCall Decl. ¶ 5.
  20
     Thielen Decl. ¶ 6; McCall Decl. ¶¶ 16-18.
  21
     Thielen Decl. ¶¶ 9-11. See Zaitzeff v. City of Seattle, 484 P.3d 470, 479 (Wash.
 App. 2021) (although Heller did “not list parks as sensitive areas, the public safety
 concerns underlying the sensitive area distinction also apply here, particularly the
 concern about protecting children”); cf. United States v. Masciandaro, 648 F.
 Supp. 2d 779, 790 (E.D. Va. 2009) (applying Heller; “National Parks are public
 properties where large numbers of people, often strangers (and including children),
 congregate for recreational, educational, and expressive activities”; “the examples
 given [in Heller]—schools and government buildings—plainly suggest that motor
 vehicles on National Park land fall within any sensible definition of a ‘sensitive
 place’”).
  22
     Haunani H. Kane et al., Vulnerability Assessment of Hawai‘i’s Cultural Assets
 Attributable to Erosion Using Shoreline Trend Analysis Techniques, 28 J. Coastal
 Rsch. 533, 533 (2012).

                                             12
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 development of mass tourism, the status of beaches—throughout the United States

 and in Hawai‘i in particular—has been transformed.23 “Tourism, as it now exists in

 Hawaii, is essentially a post-World War II phenomenon.”24 It was not until the

 twentieth century that beaches achieved their current status as a centerpiece of

 mass tourism.25 Today, Hawai‘i’s beaches are the most popular recreational tourist

 activity in the State and lie at the center of a $19.29 billion tourism industry—

 Hawai‘i’s largest industry and a central pillar of the State’s economy. 26 The unique


  23
      Plaintiffs cannot simply assert that “beaches have always existed in the United
 States.” TRO Mot. 20. In the late nineteenth and twentieth centuries, the status of
 beaches in economic, cultural, and social life fundamentally changed. See, e.g.,
 Daniela Blei, Inventing the Beach: The Unnatural History of a Natural Place,
 Smithsonian Mag., https://www.smithsonianmag.com/history/inventing-beach-
 unnatural-history-natural-place-180959538 (June 23, 2016) (“A day at the beach is
 a cultural ritual. But it hasn’t always been this way.”); id. (“[B]y 1840, the beach
 meant something new to Europeans”—“a sought-after ‘escape’ from the city and
 the drudgery of modern life.”).
   24
      James Mak, Developing a Dream Destination: Tourism and Tourism Policy
 Planning in Hawai‘i 13 (2008). “There was a visitor industry in Hawaii before
 1959, of course, but the difference in degree is sufficiently great as to constitute a
 difference in kind.” Id.
   25
      See John Davenport & Julia L. Davenport, The Impact of Tourism and Personal
 Leisure Transport on Coastal Environments: A Review, 67 Estuarine, Coastal &
 Shelf Sci. 280, 280 (2006) (“Mass tourism is a modern phenomenon[.]”).
   26
      State of Hawaiʻi, Dep’t of Bus., Econ. Dev. & Tourism, Visitor Satisfaction
 Study Q1 2023, 32-33,
 https://www.hawaiitourismauthority.org/media/11034/q1_2023_hta_vsat_final.pdf;
 State of Hawaiʻi, Fact Sheet: Benefits of Hawai‘i’s Tourism Economy,
 https://www.hawaiitourismauthority.org/media/11158/tourism-econ-impact-fact-
 sheet-may-2023.pdf ($19.29 billion in visitor spending in 2022). In May 2023
 alone, 801,569 visitors arrived in the State of Hawaiʻi and spent $1.69 billion. The
 island of Maui welcomed 240,407 visitors in May 2023, and those visitors spent
 $523.9 million. See Dep’t of Bus., Econ. Dev. & Tourism, Rsch. & Econ. Analysis

                                          13
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 modern status of public beaches—as places where, among other things, large

 crowds of families and children now assemble from all over the world for

 recreation—implicates “unprecedented societal concerns” that “require a more

 nuanced approach.” Bruen, 142 S. Ct. at 2132.27

       There is a robust historical tradition of restricting guns in places like parks

 and beaches.28 “[N]umerous historical statutes and ordinances from the time period

 before and following the ratification of the Fourteenth Amendment imposed such

 restrictions in relation to parks.” Maryland, 2023 WL 4373260, at *11 (citing a

 range of authorities, including those which “categorically bar the carrying of

 firearms in parks”); id. at *12 (“Where there is a distinct foundation of historical

 precedent demonstrating that prohibitions on carrying firearms in public parks,

 places of recreation, and social gatherings are part of the Nation’s historical

 tradition of firearm regulation, . . . Plaintiffs are not likely to succeed on the merits



 Div., U.S. Visitors Continued Surpassing 2019 Level in May (June 29, 2023),
 https://www.hawaiitourismauthority.org/media/11194/may-2023-visitor-statistics-
 6-28-2023-final.pdf. This data is subject to judicial notice. FRE 201(b); Jarvis v.
 JP Morgan Chase Bank, N.A., No. 10-cv-4184-GHK (FMOx), 2010 WL 2927276,
 at *1 (C.D. Cal. July 23, 2010) (“Judicial notice may be taken of documents
 available on government websites.”).
  27
     Cf. Maryland, 2023 WL 4373260, at *14 (more nuanced approach warranted
 because “hospitals were only beginning to become prevalent at the time of the
 ratification of the Fourteenth Amendment” and “did not resemble their modern
 counterparts until the twentieth century”).
  28
     As a practical matter, moreover, many beaches are inseparable from public
 parks. See Thielen Decl. ¶ 7.

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 of their challenges . . . .” (cleaned up)). This tradition dates back to when public

 parks first proliferated in the United States in the 1800s.29 In 1858, the Board of

 Commissioners of New York’s Central Park adopted an ordinance that forbade

 “[a]ll persons . . . [t]o carry fire-arms or to throw stones or other missiles within”

 the park. Ex. 21. The Commissioners of Prospect Park followed in 1866 with a

 similar ordinance. Ex. 22. In 1868, Pennsylvania passed a law that “[n]o person

 shall carry fire arms, or shoot birds in [Fairmount] Park [in Philadelphia] or within

 fifty yards thereof, or throw ston[e]s or other missiles therein.” Ex. 23. During the

 Reconstruction era, governments continued to pass laws banning guns in public

 parks. E.g., Ex. 24 (1872 San Francisco ordinance); Ex. 25 (1873 Chicago

 ordinance); Ex. 26 (1875 South Park, Illinois ordinance); Ex. 27 (1881 St. Louis

 ordinance); Ex. 28 (1886 Boston ordinance). This demonstrates a tradition of

 prohibiting firearms in locations like those identified in HRS § 134-A(a)(9).

 “Whether viewed as direct historical precedent or historical analogues, these

 statutes and ordinances demonstrate a historical tradition of restricting the carrying

 of firearms in places where individuals gather for recreation or social activities[.]”




  29
     Plaintiffs incorrectly suggest (at TRO Mot. 19) that public parks date back to
 the establishment of the Boston Common in the 1600s. “There were no modern-
 style parks in the era of the Second Amendment. The oldest urban public space in
 America, the Boston Common, was used primarily as a pasture, a place of
 execution, and a site for the militia to muster and drill.” Cornell Decl. ¶ 55.

                                            15
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 Maryland, 2023 WL 4373260, at *12. See Young Decl. ¶¶ 28, 35, 42 (finding no

 evidence supporting carriage of firearms in urban, state, or national parks).

                     c.     Banks and financial institutions
       Plaintiffs’ challenge to Act 52’s provision on banks and financial

 institutions, HRS § 134-A(a)(12), also fails. As with bars and restaurants serving

 alcohol, Plaintiffs lack standing because they provide no allegations or evidence

 that any financial institution has authorized (or would authorize) carrying firearms

 on its premises. The financial institutions identified by Plaintiffs are private, so

 even if the banks provision did not exist, Plaintiffs still would not be able to take

 guns onto those premises without authorization. See HRS § 134-E. Because

 Plaintiffs have not shown that any bank or financial institution authorizes (or

 would authorize) firearms on its property, their challenge to HRS § 134-A(a)(12)

 should be rejected for lack of standing alone.

       Moreover, banks and financial institutions plainly are sensitive locations

 where carrying firearms may be restricted. As the Hawaiʻi Bankers Association

 testified during legislative hearings on Act 52, “the elevated risk of danger in bank

 crimes that involve firearms” means that “it makes good policy sense and is

 appropriate to restrict firearms on bank premises.”30




   https://www.capitol.hawaii.gov/sessions/session2023/Testimony/SB1230_
  30

 HD1_TESTIMONY_FIN_04-05-23_.PDF.

                                            16
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       Even if the Court were to conclude (or assume) that Plaintiffs satisfy their

 initial textual burden with regard to banks and financial institutions—for the same

 reasons noted above, they have not—Act 52’s restriction on guns in banks and

 financial institutions is constitutional because it fits within a long historical

 tradition of prohibiting firearms in sensitive commercial centers. See Frey, 2023

 WL 2473375, at *16 (noting “a number of laws between 1328 to 1903 that show a

 historical tradition of banning firearms in ‘fairs’ or ‘markets’”). “[A] 1786 law in

 Virginia and a 1792 law in North Carolina” both contained a prohibition on

 carrying firearms in “‘fairs’ and ‘markets.’” Id. (citing Ex. 29 and Ex. 30). These

 prohibitions align with longstanding English law, including the 1328 Statute of

 Northampton. See id.; Ex. 31. Professor Saul Cornell explains that “[t]he English

 tradition of bans on arms in fairs and markets singled out these locations because

 they were sites of commerce, entertainment, and politics. Indeed, it was the very

 fact that individuals congregated in large numbers and moved about freely,

 engaging in productive economic, cultural, and political activities that was the

 reason arms were prohibited from these locations.” Cornell Decl. ¶ 42. In the

 nineteenth century, governments enacted laws that restricted carrying firearms in

 places where people regularly assembled for commercial or social purposes. See id.




                                            17
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 ¶ 46.31 These laws were viewed as both constitutional and commonsensical when

 passed,32 and they support prohibiting guns in banks and financial institutions.

                     d.    Parking lots adjacent to government buildings

       Plaintiffs also challenge HRS § 134-A(a)(1), which prohibits guns in parking

 areas adjacent to government buildings. TRO Mot. 23-24. Heller and Bruen

 establish that “government buildings” are sensitive places where firearms may be

 “altogether prohibited.” Bruen, 142 S. Ct. at 2133; Heller, 554 U.S. at 626. Parking

 lots adjacent to government buildings are properly deemed sensitive to the same

 extent as the buildings themselves, as persuasive post-Heller cases have held.

 Class, 930 F.3d at 464; Bonidy, 790 F.3d at 1125. Plaintiffs’ challenge fails. 33

              2.     The private property default rule is constitutional.


  31
     See, e.g., Ex. 32 (1817 New Orleans law forbidding weapons in public ball
 rooms); Ex. 19 (1853 New Mexico law prohibiting firearms in balls and
 fandangos); Ex. 33 (1869 Tennessee law prohibiting pistols at “any fair, race
 course, or other public assembly”); Ex. 34 (1870 Georgia law prohibiting firearms
 at “any . . . public gathering”); Ex. 35 (1870 Texas law prohibiting firearms in any
 “ball room, social party or other social gathering”); Ex. 36 (1875 Missouri law
 prohibiting firearms at social gatherings or any other non-military “public
 assemblage of persons”); Ex. 37 (1889 Arizona law; no firearms at any “place
 where persons are assembled for amusement” or “any other public assembly”).
  32
     “The principle justifying such a decision, excluding arms from sensitive places
 such as fair and markets, was ancient and informed Founding era laws as well as
 those enacted in the era of the Fourteenth Amendment.” Cornell Decl. ¶ 46; see
 Andrews v. State, 50 Tenn. 165, 182 (1871); Hill v. State, 53 Ga. 472, 475 (1874);
 Rivas Decl. ¶¶ 25-32.
  33
     Places “where motor vehicles travel,” like parking lots, are in some respects
 “even more sensitive” because they are “frequented by large numbers of strangers,
 including children.” Masciandaro, 648 F. Supp. 2d at 790 (emphasis omitted).

                                           18
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       Plaintiffs also challenge HRS § 134-E, which governs carrying firearms on

 private property without the consent of the owner, lessee, operator, or manager of

 the property.34 As a threshold matter, Plaintiffs lack standing because property

 owners could prohibit firearms even if HRS § 134-E were enjoined, leaving

 Plaintiffs in the exact same position. 35 But even if Plaintiffs had standing, they

 would not succeed for three reasons. First, carrying a gun on private property

 without the owner’s consent falls outside the Second Amendment’s plain text.

 Second, HRS § 134-E is consistent with the Nation’s tradition of firearms

 regulation. And third, HRS § 134-E does not compel speech.

       First, the Second Amendment does not include a right to carry guns on

 others’ property without their consent. Under Bruen, the threshold inquiry requires

 an analysis of the Second Amendment’s text that is “informed by history,” 142

 S. Ct. at 2127, including the principles of “property law, tort law, and criminal

 law” that “provide[d] the canvas on which our Founding Fathers drafted the

 Second Amendment,” GeorgiaCarry.Org, Inc. v. Georgia, 687 F.3d 1244, 1264

 (11th Cir. 2012). Private property rights were exalted by the Founders, and a

 property owner’s right to exclude was “one of the most essential sticks in the


  34
      Plaintiffs challenge the default rule only as to private property held open to the
 public—not as to other private property. TRO Mot. 15-16.
   35
      Moreover, because Plaintiffs “fail[] to provide any statement . . . indicating that
 [they] will not seek permission before carrying in a private property,” they “fail[]
 to establish injury-in-fact.” Frey, at 2023 WL 2473375, at *9.

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 bundle of [property] rights,” Cedar Point Nursery v. Hassid, 141 S. Ct. 2063, 2072

 (2021) (cleaned up). At common law, entering the land of another without

 permission was trespass. See GeorgiaCarry.Org, 687 F.3d at 1262. States long

 reinforced private property rights through the criminal offense of trespass. Id. at

 1263 (recounting this history). “[T]here is no constitutional infirmity when a

 private property owner exercises” their “right to control who may enter, and

 whether that invited guest can be armed, and the State vindicates that right.” Id. at

 1264. How the right to exclude is applied, and how landowners signify

 authorization, is a matter for Hawai‘i property law—not federal constitutional law.

       HRS § 134-E does no more than vindicate the traditional right to exclude by

 preventing Plaintiffs from carrying firearms onto private property absent the

 owner’s consent. Setting a default rule does not substitute the State’s judgment for

 that of property owners. It merely establishes a background presumption, and

 property owners retain the right to dictate the terms of entry onto their property as

 they wish. See TRO Mot. 16 (“Plaintiffs here do not challenge that right of a

 private property owner.”). This is not unconstitutional. See Blum v. Yaretsky, 457

 U.S. 991, 1004 (1982) (“[C]onstitutional standards are invoked only when it can be

 said that the State is responsible for the specific conduct of which the plaintiff

 complains.”). Nothing in Bruen changes this conclusion. The Court’s ruling that

 individuals have a right to carry firearms “in public” does not address whether they


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 have a presumptive right to do so on someone else’s private property, and Bruen

 nowhere suggested that the Second Amendment trumps private property rights.

       Second, the historical record demonstrates that HRS § 134-E is consistent

 with the Nation’s tradition of firearms regulation. There is extensive historical

 support for prohibitions on carriage on private property without consent, and for

 government regulation of this conduct. See Exs. 38-45. These regulations are

 “well-established and representative historical analogue[s].” Bruen, 142 S. Ct. at

 2133 (emphasis omitted). Many, in fact, are better characterized as “historical

 twin[s]” of Hawaiʻi’s default rule, surpassing Bruen’s requirements. Id. Indeed,

 with respect to the relative burdens imposed by the regulations, some of the

 historical examples required permission in writing, see, e.g., Exs. 41, 42, while

 Hawaiʻi’s law is more flexible, allowing for “[u]nambiguous written or verbal

 authorization,” HRS § 134-E(b)(1) (emphasis added). And with respect to

 justification, Hawaiʻi’s restriction, like its historical predecessors, is rooted in

 respect for private property rights. Moreover, contrary to Plaintiffs’ assertion (TRO

 Mot. 12-13), these regulations were not aimed solely at hunting or poaching on

 private land; rather, they generally regulated carriage onto private property without

 consent in addition to, in some cases, regulating hunting. E.g., Ex. 39 (proscribing

 “carry[ing] any gun or hunt[ing]” (emphasis added)); Ex. 40 (same). This historical

 record demonstrates HRS § 134-E’s constitutionality.


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       Third, Plaintiffs’ argument that the default rule violates the First

 Amendment by compelling Plaintiff Kasprzycki to speak is unavailing. TRO Mot.

 4, 18-19; Complaint ¶ 65. The compelled speech doctrine applies only if

 government action “compel[s] individuals to speak a particular message” and, in so

 doing, alters a person’s own message. NIFLA v. Becerra, 138 S. Ct. 2361, 2371

 (2018) (emphasis added). That includes “situation[s] in which an individual must

 personally speak the government’s message,” or where the government “force[s]

 one speaker to host or accommodate another speaker’s message,” Rumsfeld v.

 FAIR, 547 U.S. 47, 63 (2006). Neither is the case here. Act 52 does not compel

 property owners to speak at all, let alone send a message on behalf of any entity.

 Property owners are free to express their views about whether they prefer firearms

 on their property. They can choose to allow firearms and say so, or choose to say

 nothing. Either way, the government is not “telling [them] what they must say.” Id.

 at 61 (emphasis added). Even Koons, the outlier decision on which Plaintiffs

 heavily rely in their Motion, rejected a similar First Amendment claim. See Koons

 v. Platkin, No. 22-7464 (RMB/AMD), 2023 WL 3478604, at *70 (D.N.J. May 16,

 2023) (“[T]he Default Rule does not compel property owners to speak a particular

 message, so it is not a regulation of speech within the scope of the First

 Amendment’s protection.”). The default must be one of two things: either firearms

 presumptively may be carried on others’ private property unless the owner objects,


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 or they presumptively may not be carried unless the owner consents. Either

 presumption would place some property owners in the same position as Plaintiff

 Kasprzycki and pose the same “problem” he seeks to remedy.36 Id. (“[T]he Default

 Rule sets a background rule and construes the sound of silence.”). Because HRS

 § 134-E does not compel any message, the First Amendment challenge fails. 37

              3.     Plaintiffs’ facial challenge cannot succeed.

       Finally, Plaintiffs are not entitled to facial relief. “A facial challenge is a

 claim that the law or policy at issue is unconstitutional in all its applications.”

 California Rifle & Pistol Ass’n, Inc. v. City of Glendale, No. 2:22-cv-07346-SB-

 JC, 2022 WL 18142541, at *6 (C.D. Cal. Dec. 5, 2022) (cleaned up). Plaintiffs

 would have to establish that the provisions they challenge cannot be applied to

 anyone—a showing Plaintiffs have not even attempted to make. 38



  36
      Act 52’s allocation of the private property default was “based on the
 legislature’s assessment of public sentiment and broadly shared preferences within
 the State.” Ex. 1; see also Ian Ayres & Spurthi Jonnalagadda, Guests with Guns:
 Public Support for “No Carry” Defaults on Private Land, 48 J.L. Med. & Ethics
 183, 186 (Winter 2020) (finding strong public support for “no-carry” default rules
 based on nationwide survey data). Because Hawaiʻi residents prefer a no-carry
 default for carrying firearms onto others’ private property, by Plaintiffs’ logic,
 HRS § 134-E would “compel” less “speech” than any alternative.
   37
      The only First Amendment theory Plaintiffs identify in their Complaint and
 Motion is a “compelled speech” challenge, and only that theory is addressed here.
   38
      Any injunctive relief, if issued, should thus apply only to Plaintiffs and the
 challenged provisions. McCormack v. Hiedeman, 694 F.3d 1004, 1019-20 (9th Cir.
 2012). Moreover, nominal/compensatory damages (Complaint at 66) are barred by
 the Eleventh Amendment. Aholelei v. DPS, 488 F.3d 1144, 1147 (9th Cir. 2007).

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       B.     PLAINTIFFS FAIL TO SHOW IRREPARABLE HARM

       Plaintiffs have also not demonstrated irreparable harm. Plaintiffs point to

 their “deprivation of constitutional rights,” TRO Mot. 24 (cleaned up), but that

 presumes Plaintiffs have established a constitutional violation. They have not. See

 Maryland, 2023 WL 4373260, at *16 (“[T]he likelihood of irreparable harm on

 this basis is dependent on the likelihood of success on the merits of the claim.”).39

 Plaintiffs’ delay in seeking a TRO also undermines their assertion of irreparable

 harm. See, e.g., Oakland Trib., Inc. v. Chron. Pub. Co., 762 F.2d 1374, 1377 (9th

 Cir. 1985) (“[D]elay before seeking a preliminary injunction implies a lack of

 urgency and irreparable harm.”). Despite knowing as early as May 4 that the bill

 that became Act 52 passed both houses of the Legislature, Plaintiffs waited until

 June 23—three weeks after Act 52 was signed by the Governor—to request a

 TRO. Such delays militate against emergency relief.40


  39
      Neither the Supreme Court nor the Ninth Circuit has adopted Plaintiffs’ theory
 that the deprivation of Second Amendment rights is “irreparable harm per se.”
 TRO Mot. 24; Or. Firearms Fed’n, Inc. v. Brown, No. 2:22-cv-01815-IM, 2022
 WL 17454829, at *18 (D. Or. Dec. 6, 2022).
   40
      E.g., Altman v. Cnty. of Santa Clara, No. 20-cv-02180 (N.D. Cal. Apr. 10,
 2020), ECF No. 22 (10-day delay); Dahl v. Swift Distrib., Inc., No. 10-cv-00551
 SJO (RZx), 2010 WL 1458957, at *4 (C.D. Cal. Apr. 1, 2010) (17 days). Courts
 measure delays from when plaintiffs were on notice of alleged harm. UnifySCC v.
 Cody, No. 22-cv-01019-BLF, 2022 WL 686310, at *2 (N.D. Cal. Mar. 8, 2022)
 (starting clock when challenged policy announced). And for some locations—e.g.,
 State Parks and parking lots adjacent to State facilities—restrictions have been in
 place for years. HAR § 3-111-12; id. § 3-111-3. This underscores the lack of
 irreparable harm.

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       C.     THE BALANCE OF THE EQUITIES AND PUBLIC INTEREST
              STRONGLY WEIGH AGAINST ISSUING A TRO
       The balance of the equities and public interest overwhelmingly favor the

 State. As the Legislature found, “there are compelling interests in protecting public

 health, safety, and welfare from the serious hazards associated with firearms and

 gun violence.” Ex. 1. The “interest in protecting public safety warrants permitting

 the relevant parts of [Act 52] to remain in effect until a final determination is made

 on their constitutionality.” Maryland, 2023 WL 4373260, at *17. “The costs of

 being mistaken, on the issue of whether the injunction would have a detrimental

 effect on handgun crime . . . would be grave.” Tracy Rifle & Pistol LLC v. Harris,

 118 F. Supp. 3d 1182, 1193 (E.D. Cal. 2015). Members of the public “have a

 strong interest in being able to use public areas without fearing for their lives.”

 State v. Spencer, 876 P.2d 939, 942 (Wash. App. 1994).

 IV.   CONCLUSION
       Plaintiffs’ Motion should be denied.

       DATED: Honolulu, Hawai‘i, July 14, 2023.

                                                    /s/ Nicholas M. McLean


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                                               * Pro Hac Vice Motions Pending

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